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                                                                Under Rule 12(b)(6), a defendant bears the burden of
                    2010 WL 481021                              demonstrating that the plaintiff has not stated a claim upon
      Only the Westlaw citation is currently available.         which relief can be granted. FED. R. CIV. P. 12(b)(6); see
                                                                also Hedges v. United States, 404 F.3d 744, 750 (3d Cir.2005).
      This decision was reviewed by West editorial              In Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.
     staff and not assigned editorial enhancements.             1955, 167 L.Ed.2d 929 (2007), the United States Supreme
                                                                Court recognized that “a plaintiff's obligation to provide
                United States District Court,                   the ‘grounds' of his ‘entitle[ment] to relief’ requires more
                    E.D. Pennsylvania.                          than labels and conclusions, and a formulaic recitation of
                                                                the elements of a cause of action will not do.” Id. at 555.
            Julie Ann BENOIT, Plaintiff,
                                                                Following the basic precepts of Twombly, the Supreme Court,
                        v.                                      in the subsequent case of Ashcroft v. Iqbal, ––– U.S. ––––, 129
      PENNSYLVANIA BOARD OF PROBATION                           S.Ct. 1937, 173 L.Ed.2d 868 (2009), defined a two-pronged
      AND PAROLE–WEST DIVISION, Defendant.                      approach to a court's review of a motion to dismiss for failure
                                                                to state a claim. First, it noted that “the tenet that a court must
                  Civil Action No. 09–4047.
                                                                accept as true all of the allegations contained in a complaint
                               |
                                                                is inapplicable to legal conclusions. Threadbare recitals of the
                         Feb. 9, 2010.
                                                                elements of a cause of action, supported by mere conclusory
Attorneys and Law Firms                                         statements, do not suffice.” Id. at 1949. Thus, although “Rule
                                                                8 marks a notable and generous departure from the hyper-
Julie Ann Benoit, Darby, PA, pro se.                            technical, code-pleading regime of a prior era ... it does not
                                                                unlock the doors of discovery for a plaintiff armed with
Beth Anne Smith, Office of Attorney General, Philadelphia,      nothing more than conclusions.” Id. at 1950. Second, the
PA, for Defendant.                                              Supreme Court emphasized that “only a complaint that states
                                                                a plausible claim for relief survives a motion to dismiss.” Id.
                                                                “Determining whether a complaint states a plausible claim
                     MEMORANDUM                                 for relief will ... be a context-specific task that requires
                                                                the reviewing court to draw on its judicial experience and
BUCKWALTER, Senior District Judge.                              common sense.” Id. Where the well-pleaded facts do not
                                                                permit the court to infer more than the mere possibility of
 *1 Currently pending before the Court is the Motion of
                                                                misconduct, the complaint has alleged, but not shown an
Defendant Pennsylvania Board of Probation and Parole–West
                                                                entitlement to relief. Id .; see also McTernan v. City of York,
Division (“Parole Board”) to Dismiss Plaintiff's Complaint
                                                                577 F.3d 521, 530–31 (3d Cir.2009).
for Failure to State a Claim and the Response of Plaintiff
Julie Ann Benoit. For the following reasons, the Motion shall
                                                                Notwithstanding these new dictates, the basic tenets of the
be granted, Plaintiff's Complaint shall be dismissed without
                                                                Rule 12(b)(6) standard of review have remained static.
prejudice, and Plaintiff shall be directed to file an amended
                                                                DeFebo v. Andersen Windows, Inc., No. CIV.A.09–2993,
complaint.
                                                                2009 WL 4268553, at *4 (E.D.Pa. Nov.23, 2009); Spence v.
                                                                Brownsville Area Sch. Dist., No. CIV.A.08–626, 2008 WL
I. FACTUAL AND PROCEDURAL HISTORY                               2779079, at *2 (W.D.Pa. Jul. 15, 2008). The general rules of
On September 22, 2009, Plaintiff Julie Ann Benoit was           pleading still require only a short and plain statement of the
granted leave by this Court to proceed in forma pauperis.       claim showing that the pleader is entitled to relief and need
Plaintiff filed her Complaint the same day. Thereafter, on      not contain detailed factual allegations. Phillips v. County of
December 3, 2009, Defendant filed the present Motion to         Allegheny, 515 F.3d 224, 233 (3d Cir.2008). Further, the court
Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).   must “accept all factual allegations in the complaint as true
Plaintiff responded on January 25, 2010.                        and view them in the light most favorable to the plaintiff.”
                                                                Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d
                                                                Cir.2006). Finally, the court must “determine whether, under
II. STANDARD OF REVIEW                                          any reasonable reading of the complaint, the plaintiff may be



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entitled to relief.” Pinkerton v. Roche Holdings Ltd., 292 F.3d   for promotion, that despite her qualifications she was denied
361, 374 n. 7 (3d Cir.2002).                                      promotion, and that the circumstances surrounding these
                                                                  events give rise to an inference of discrimination. See
                                                                  Waldron v. SL Indus., Inc., 56 F.3d 491, 494 (3d Cir.1995)
III. DISCUSSION                                                   (listing elements of a prima facie case under Title VII as
 *2 In the present case, Plaintiff's Complaint sets forth the     a showing that plaintiff: (1) is a member of a protected
following lone statement of her claim:                            class; (2) was qualified for an employment position; (3) and
                                                                  was either not hired for that position or was fired from it;
                                                                  (4) “under circumstances that give rise to an inference of
            As a Veteran of the United States Air                 unlawful discrimination.”) (citing Tex. Dept. of Cmty. Affairs
            Force Honorably Discharged, I was                     v. Burdine, 450 U.S. 248, 253, 101 S.Ct. 1089, 67 L.Ed.2d 207
            denied promotion and was harassed                     (1981)). Defendant goes on to aver that Plaintiff's allegations
            and discriminated against during my                   that she was “harassed and discriminated against” are legal
            time of employment [with Defendant                    conclusions, not facts which support a prima facie case under
            Parole Board] from December 26,                       Iqbal. (Def.'s Mem. Supp. Mot. Dismiss. 3 (quoting Compl.
            2006 until February 28, 2007 when I                   ¶ 3).)
            was called to the hospital as a result of
            my mother's request for my attendance                 Plaintiff's Response to Defendant's Motion provides this
            as a result of a stroke.                              Court with little insight into the true nature of her claim. In
                                                                  an effort to rebut Defendant's argument, she cites, with scant
                                                                  supporting explanation, Title VII of the Civil Rights Act of
(Compl.1.) Although not included as part of the Complaint,        1964, the Age Discrimination in Employment Act, Title I
Plaintiff offers some additional explanation of her grievance     of the Americans with Disabilities Act, the Good Samaritan
in her simultaneously-filed Request for Appointment of            Doctrine, the Corporate and Criminal Fraud Accountability
Counsel, as follows:                                              Act, the Whistleblower Protection Act, and Title II of the
                                                                  Genetic Information Nondiscrimination Act of 2008. Yet,
                                                                  Plaintiff has neither identified the elements of any of these
            From December 26, 2006 until                          causes of action nor explained how they entitle her to relief.
            February 28, 2007 I was subjected                     More importantly—assuming Plaintiff's claims are limited
            to harassment of various kinds. As                    to solely the discrimination claims seemingly alleged in her
            a Clerk Typist II, not only was                       Complaint—Plaintiff has failed to set forth sufficient factual
            I mistreated, denied promotion and                    allegations to state a facially plausible claim and create a
            then discharged claiming that I had                   reasonable inference that she was discriminated against on
            abandoned the position. The info                      the basis of her membership in a protected class. 1 See
            obtained from Personnel regarding my                  Gelman v. State Farm Mut. Auto. Ins. Co., 583 F.3d 187, 190
            religion and my national origin was                   (3d Cir.2009) (noting that “[a] claim has facial plausibility
            released to non-relevant staff and used               when the plaintiff pleads factual content that allows the
            as a source for discrimination.                       court to draw the reasonable inference that the defendant
                                                                  is liable for the misconduct alleged.”) (quoting Iqbal, 129
                                                                  S.Ct. at 1949). Indeed, the allegations are nothing more
(Request for Appointment of Attorney 2.)                          than the “unadorned, the-defendant-unlawfullyharmed-me
                                                                  accusation[s]” and “ ‘naked assertion[s]’ devoid of ‘further
Defendant's Motion to Dismiss now contends that while             factual enhancement’ ” that fail to establish that Defendant
Plaintiff appears to be asserting claims for employment           is probably—not just possibly—liable for the wrongdoing.
discrimination under Title VII, she has failed to set forth,      Iqbal, 129 S.Ct. at 1949–50 (quoting Twombly, 550 U.S. at
in accordance with Iqbal, a facially plausible prima facie        555–57). As such, the Court is compelled to grant Defendant's
case. More specifically, Defendant argues that Plaintiff has      Motion to Dismiss Plaintiff's Complaint.
not provided sufficient factual allegations to properly assert
that she was part of a protected class, that she was qualified


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 *3 Nonetheless, the Court remains mindful of several                 of this Order to file an amended complaint that meets the Iqbal
additional pleading principles. First, we recognize that a pro        pleading standards and gives Defendant fair notice of both
se complaint must be held to “less stringent standards than           the legal claims against it and the factual predicate for such
                                                                      claims.
formal pleadings drafted by lawyers.” Haines v. Kerner, 404
U.S. 519, 520–21, 92 S.Ct. 594, 30 L.Ed.2d 652 (1972); see
                                                                      An appropriate order follows.
also Brown v. Potter, No. CIV.A.06–695, 2009 WL 3297295,
at *3 (E.D.Pa. Oct.9, 2009) (holding that district courts
should “construe formally imperfect filings in accordance
with the pro se litigant's substantive intent.”). As noted by                                    ORDER
the Supreme Court, dismissing a pro se complaint on the
grounds that allegations of harm are too conclusory violates          AND NOW, this 9th day of February, 2010, upon
the liberal pleadings standards generally applied to pro se           consideration of Defendant Pennsylvania Board of Probation
plaintiffs. Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct.            and Parole—West Division's Motion to Dismiss Plaintiff's
2197, 167 L.Ed.2d 1081 (2007). Moreover, the Third Circuit            Complaint (Docket No. 5) and Plaintiff Julie Ann Benoit's
has repeatedly emphasized that “in civil rights cases, district       Response (Docket No. 9), it is hereby ORDERED that
courts must offer amendment—irrespective of whether it is             the Motion is GRANTED and Plaintiff's Complaint is
requested—when dismissing a case for failure to state a claim         DISMISSED WITHOUT PREJUDICE. Plaintiff shall
unless doing so would be inequitable or futile.” Fletcher–            have twenty (20) days from the date of this Order within
Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d             which to file an Amended Complaint that complies with the
247, 251 (3d Cir.2007); see also Grayson v. Mayview State             standards set forth in the accompanying Memorandum.
Hosp., 293 F.3d 103, 110–11 (3d Cir.2002).

                                                                      All Citations
Cognizant of these principles and of Plaintiff's pro se status,
the Court will dismiss Plaintiff's Complaint without prejudice.       Not Reported in F.Supp.2d, 2010 WL 481021
In addition, Plaintiff shall be given twenty days from the date




                                                          Footnotes


1      Notably, to the extent Plaintiff claims that she was in a protected class due to her status as an armed services
       veteran, it is established that “veteran status cannot provide a basis for Title VII action.” Phillippeaux v. N.
       Central Bronx Hosp., 871 F.Supp. 640, 650 n. 4 (S.D.N.Y.1994), aff'd 104 F.3d 353 (2d Cir.1996), cert. denied,
       520 U.S. 1105, 117 S.Ct. 1110, 137 L.Ed.2d 312 (1996); see also Bailey v. Se. Area Joint Apprenticeship
       Committee, 561 F.Supp. 895, 912 (N.D.W.Va.1983) (noting that veterans are not a protected class under
       Title VII).



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